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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION


  HERBERT H. MULLINEX, JR.                     )
  and PATRICIA E. MULLINEX,                    )
                                               )
                 Plaintiffs,                   )
                                               )
  v.                                           )       Case No.: 4:18-cv-00033-RAJ-DEM
                                               )
  JOHN CRANE INC., et al,                      )
                                               )
                 Defendants.                   )


                   JOHN CRANE INC.’S REPLY IN SUPPORT OF
           MOTION IN LIMINE TO EXCLUDE EVIDENCE RELATING TO
       PLAINTIFFS’ CLAIM FOR LOSS OF SOCIETY AND PUNITIVE DAMAGES

         John Crane Inc. (“JCI”), by counsel, submits the following Reply in Support of its Motion

  in Limine to Exclude Evidence Relating to Plaintiffs’ Claim for Loss of Society and Punitive

  Damages [ECF Nos. 214, 215].

                                                  I
                                            Introduction

         Plaintiffs’ 30-page brief is striking in its attempt to confuse and blur the issues. When the

  wheat and chaff are separated, however, Plaintiffs fail to establish – under the exacting standard

  set forth in Dutra Group v. Batterton, 139 S. Ct. 2275 (2019) – that either punitive damages or

  loss of society are available remedies to them under general maritime law. Specifically, Plaintiffs

  cannot prove that:

         (1) Either punitive damages or loss of society was a remedy traditionally awarded to
             seamen (or anyone else) alleging claims of negligence against a non-employer
             defendant;
         (2) Conformity with parallel statutory schemes, in particular the Jones Act in a personal
             injury case, “requires” recognition of either category of damages; and
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         (3) Policies expressed in federal legislation “compel” recognition of their right to seek
             either category of damages.

         As discussed in more detail below, the relevant case law and statutes dictate under the

  Batterton test the opposite conclusion: neither punitive damages nor loss of society are available

  to Plaintiffs. For the foregoing reasons, as well as those stated in JCI’s opening brief, Plaintiffs’

  evidence relating to those two categories of damages should be excluded.

                                                 II
                                              Argument

     A. Plaintiff Cannot Demonstrate That Either Punitive Damages or Loss of Society Were
        Remedies Traditionally Allowed Under a General Maritime Law Negligence Claim.

         Plaintiffs do not dispute that Batterton supplies the rule of decision governing the damages

  they seek here. [ECF No. 263 at 1-2.] JCI’s opening brief describes how, under Batterton’s first

  prong, Plaintiffs must show not merely that punitive damages were theoretically available during

  maritime law’s “formative years” but rather a “clear historical pattern” of such awards being made

  under the theory of recovery advanced by Plaintiffs. Batterton, 139 S. Ct. at 2283 n.6, 2284.

  Plaintiffs’ failure to identify any negligence case in which either punitive damages or loss of

  society was awarded to a seaman like Mr. Mullinex – much less a clear historical pattern of such

  awards – is “practically dispositive” of the issue. Accordingly, Plaintiffs’ evidence as to these

  damages should be excluded.

                 1.      Plaintiffs Establish No Clear Historical Pattern of Awarding Punitive
                         Damages in Garden Variety Negligence Cases Such as This One Brought
                         By a Seaman.

         JCI’s opening brief describes at length how the first prong of Batterton requires Plaintiffs

  to identify decisions from before 1920 (when the Jones Act and DOHSA were enacted), in which

  punitive damages were awarded to a seaman in negligence cases such as this one. [ECF No. 215




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  at 5-6 n.3.] 1 While Plaintiffs open their brief by asserting that both suits against non-employer

  defendants and punitive damages were “well established” during those formative years of the

  general maritime law, [ECF No. 263 at 2, 5], even a cursory review of the cases cited by Plaintiffs

  belies both contentions.

           Taking these in order, Plaintiffs cite to only three cases for the proposition that negligence

  cases against non-employers were “well established” under maritime law. Hardly. Putting aside

  the paucity of case law cited, none involved claims by seamen like Mr. Mullinex. For example,

  The Max Morris, 137 U.S. 1 (1890), was in rem action brought by a longshoreman. In Leathers

  v. Blessing, 105 U.S. 626 (1881), the claimant was a non-seaman injured while retrieving

  consigned goods off a ship. Finally, Norfolk Shipbuilding & Drydock Corp. v. Garris, 532 U.S.

  811 (2001), which itself involved a non-seaman claimant, cited only Blessing and one other

  negligence case, Robins Dry Dock & Repair Co. v. Dahl, 266 U.S. 449 (1925), which also involved

  a non-seaman. Id. at 457. Thus, at the outset, Plaintiffs cite no case prior to 1920 in which a

  seaman sued – or was even permitted to sue – a non-employer defendant like JCI.

           From there, Plaintiffs’ argument regarding the availability of punitive damages in similar

  cases during the admiralty’s formative years fares no better. They again offer no case where an

  award was actually made (much less a clear historical pattern of such awards). In fact, of the five

  cases they cite, four were not maritime cases. See Lake Shore & M.S.R. Co. v. Prentice, 147 U.S.

  101, 106 (1893) (railroad case); Boston Manuf’g Co. v. Fiske, 3 F. Cas. 957 (Cir. Ct., D. Mass.

  1820) (patent case); The Jane Grey, 95 F. 693, 697 (D. Wash. 1899) (Washington law); Stewart v.




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      Plaintiffs concede that Mr. Mullinex is a seaman. [ECF No. 263 at 18.]


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  Cary Lumber Co., 59 S.E. 545, 548 (N.C. 1907) (North Carolina law). 2 As for the fifth, Fretz v.

  Bull, 53 U.S. 466 (1851), Plaintiffs assert that the Court there “discussed in a collision case that

  ‘vindictive damages’ ought not be allowed only because there was no negligence, or at best, mutual

  negligence.” [ECF No. 263 at 20-21.] But the only reference to such damages appears in the

  syllabus to the case and not in the text of the decision. “The syllabus constitutes no part of the

  opinion of the Court but has been prepared by the Reporter of Decisions for the convenience of

  the reader.” Dunlop v. Bachowski, 421 U.S. 560 n.* (1975); United States v. Detroit Timber &

  Lumber Co., 200 U.S. 321, 337 (1906). Thus, Plaintiffs cite no maritime case supporting an award

  of punitive damages in a case such as this.

          Far from helping Plaintiffs in their argument, Atlantic Sounding Co. v. Townsend, 557 U.S.

  404 (2009), makes JCI’s point for it. Addressing Townsend a decade after it was decided, the

  Court recently explained that the decision was “based on the established history of awarding

  punitive damages” in maintenance and cure cases prior to 1920. Batterton, 139 S. Ct. at 2283.

  This is precisely what Plaintiffs have failed to do here, because unlike maintenance and cure cases,

  there is no such history of punitive damages awards in negligence cases against non-employer

  defendants. Thus, in sharp contrast to Townsend, Plaintiffs fail to cite any case – much less a

  “clear historical pattern” of such cases as required under Batterton’s first prong – awarding




  2
    With respect to Fiske, Justice Story (riding circuit) in a patent case criticized a Supreme Court
  decision striking an award of attorneys’ fees in a capture and prize case. Although employing the
  phrase “exemplary damages” at one point, Justice Story also said such awards were “the usual
  course” where restitution to the owner of seized property is ordered but the capture was deemed
  justifiable. Fiske, 3 F. Cas. at 957. That is consistent with the cases cited by Justice Story. See
  The London Packet, 18 U.S. 132, 141-43 (1820); The Venus, 18 U.S. 127, 131(1820); The Mary,
  13 U.S. 126, 151 (1815). If these decisions support an award for “punitive” damages at all, it is
  only: (i) in capture and prize cases; (ii) against the plaintiff and not the defendant; and (iii) for the
  costs incurred in having to litigate what was ultimately a justifiable seizure of a vessel. It suffices
  to say here that such a scheme has nothing whatsoever to do with the Plaintiffs’ claim.
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  punitive damages to a seaman (or anyone else for that matter) in a negligence case against a non-

  employer defendant.

                 2.      Plaintiffs Establish No Clear Historical Pattern of Awarding Loss of Society
                         in Garden Variety Negligence Cases Such as This One Brought By a
                         Seaman.

         Equally unavailing under Batterton’s first prong is Plaintiffs’ assertion that maritime courts

  “routinely” recognized and upheld recovery for loss of society prior to 1920. [ECF No. 263 at 8.]

  First, this argument runs contrary to the Supreme Court’s observation in American Export Lines v.

  Alvez, 446 U.S. 274 (1980), that as late as the second half of the twentieth century, “there was no

  clear decisional authority sustaining a general maritime law right of recovery for loss of society.”

  Id. at 280. 3 Second, the six cases cited by Plaintiffs do not support their argument. To the contrary,

  those cases are consistent with the history summarized in Alvez.

         For example, Plaintiffs cite to Chief Justice Chase’s decision while on circuit in The Sea

  Gull, 21 F. Cas. 910 (Cir. Ct. D. Md. 1800). The opinion there notes only that there was an award

  of $1,000 in damages. It does not say what that amount was comprised of nor does the opinion

  use the phrase “loss of society” or “consortium” anywhere. Id. at 911. Likewise, in Phelps v.

  Steamship City of Panama, 1 Wash. Terr. 518 (1877), the territorial court – deciding issues of

  contract law, id. at 531 – included a discussion of loss of consortium damages under common law




  3
    With respect to Alvez itself, JCI catalogs in its opening brief the subsequent treatment of Alvez
  by the Supreme Court and lower federal appellate courts. [ECF No. 215 at 7-8.] Plaintiffs respond
  with passing cites to the opinion in later Supreme Court decisions but cite to nothing from the
  Court discussing Alvez’s continued viability regarding loss of society damages, nor do they cite
  any decision from the Court extending the decision to seamen. [ECF No. 263 at 2 n.2.] The reason
  for this omission is simple: the Court has done just the opposite. See Miles v. Apex Marine Corp.,
  498 U.S. 19, 31 (1990) (holding that Sea-Land Services v. Gaudet, 414 U.S. 573 (1974) – on which
  Alvez is based – was limited to its facts).

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  (not maritime law). 4 Id. at 533. As in The Sea Gull, there is no indication such damages were

  awarded, id. at 546-47, and the decision on appeal to the U.S. Supreme Court (also cited by

  Plaintiffs) likewise contains no reference to loss of society. The City of Panama, 101 U.S. 453,

  464 (1879).

         With respect to the other cases cited by Plaintiffs, James v. Christy, 18 Mo. 162 (1853),

  involved the application of state law by a state court, not maritime law. Id. at 164 (“By our law…”).

  In Cutting v. Seabury, 6 F. Cas. 1083 (D. Mass. 1860), the claim was one for wrongful death not

  personal injury. Id. at 1084. Thus, any discussion of the damages available in a personal injury

  case – which the court made a point of saying was “not controverted” by the defendant, see id. –

  was dictum. Even so, the suit for the same damages in the death case was dismissed by the court

  there. Id. at 1085. Lastly, Plaintiffs cite to the The E.B. Ward, 23 F. 900 (Cir. Ct. E.D. La. 1885),

  an in rem action in which loss of society was awarded. There is no indication that the defendant

  challenged their availability and the court’s decision cites no authority for their award. Regardless,

  The E.B. Ward does not approach the sort of “clear historical pattern” of remedial availability that

  the Supreme Court requires under Batterton’s first prong. To the contrary, it is precisely the sort

  of single “dust-covered case” on which the Court is “reluctant” to place any reliance. See

  Batterton, 139 S. Ct. at 2283 n.6.

         As with their claim for punitive damages, Plaintiffs do not – and cannot – establish the

  necessary historical pedigree for the loss of society remedy they now seek under Batterton’s first

  prong. Because Plaintiffs likewise cannot meet the exacting standard under Batterton’s second




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   As Plaintiffs offer in their brief, “[m]aritime law had always, in this country as in England, been
  a thing apart from the common law.” [ECF No. 263 at 2] (quoting Moragne v. States Marine
  Lines, Inc., 398 U.S. 375, 386 (1970)).
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  and third prongs (discussed below), their failure to meet the first prong is dispositive of the issue.

  Plaintiffs’ evidence relating to loss of society and punitive damages must therefore be excluded.

     B. The Parallel Statutory Scheme to Which This Court Must Look, The Jones Act, Does
        Not Support an Award of Punitive Damages or Loss of Society.

         In response to Batterton’s second prong and its stated focus on the importance of

  uniformity under Miles v. Apex Marine Corp., 498 U.S. 19 (1990), Plaintiffs assert only – albeit

  repeatedly throughout their brief – that maritime law’s concern in this regard is cabined to the

  “employment related area.” [ECF No. 263 at 15.] As such, Plaintiffs contend that JCI’s reliance

  on Miles and its progeny is misplaced because that decision only dealt with a seaman’s claim

  against his employer. [Id. at 22.] This is demonstrably incorrect based on the record in Miles.

         Plaintiffs’ brief includes a summary of the different charter arrangements applicable to

  vessels. Among those is a “demise” or “bareboat” charter, under which the charterer “takes

  complete control of the vessel, mans it with his crew, and is treated by law as its legal owner.”

  [ECF No. 263 at 11-12] (quoting 2 Thomas J. Schoenbaum Admiralty & Maritime Law §11:1 at 3

  (6th ed. 2018)). Under such a bareboat charter, the charterer becomes the employer. See United

  States v. W.M Webb, Inc., 397 U.S. 179, 192 (1970).

         In Miles, the vessel in question was owned by Aeron Marine Co., bareboat chartered to

  Archon Marine Co, and operated by Apex Marine Corp. (“Apex”) and Westchester Marine

  Shipping Co. (“Westchester”). See Miles v. Melrose, 882 F.2d 976, 980 (5th Cir. 1989). Apex

  and Westchester, in turn, hired the assailant at issue there under a collective bargaining agreement

  the two companies had with a local union. Miles v. Melrose, 1987 U.S. Dist. LEXIS 8247 at *5

  n.4 (E.D. La. Sept. 8, 1987). Because Aeron was not considered the assailant’s employer under

  the bareboat charter, it was not included in the Jones Act claim submitted to the jury. Rather, the

  claim against Aeron was separate and only for seaworthiness (on which the jury found in Aeron’s


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  favor). See Joint Appendix in Miles v. Apex Marine Corp., 1990 U.S. S. Ct. Briefs LEXIS 1233

  at *9. Federal appellate courts – cited in JCI’s opening brief but ignored by Plaintiffs – have

  likewise observed that Miles included claims against non-employer defendants. Scarborough v.

  Clemco Indus., 391 F.3d 660, 668 n.5 (5th Cir. 2004); Davis v. Bender Shipbuilding & Repair Co.,

  27 F.3d 426, 430 (9th Cir. 1994). 5

         But the larger point made by those courts is in rejecting Plaintiffs’ contention that the status

  of a defendant is in any way relevant to the analysis under Miles. [ECF No. 263 at 15.] To the

  contrary, “there is nothing in Miles’ reasoning to suggest that the decision turned upon the identity

  of the defendant.” Scarborough, 391 F.3d at 668 n.5; Davis, 27 F.3d at 430. Thus, Plaintiffs do

  not distinguish in any meaningful way the cases cited on pages 10-11 of JCI’s opening brief.

  Moreover, Plaintiffs do not address (or distinguish) Scarborough, Davis, or other opinions

  applying the reasoning of Miles outside of the employment context – including in asbestos cases

  – and striking claims for both loss of society and punitive damages. See, e.g., Spurlin v. Air &

  Liquid Sys. Corp., 2021 U.S. Dist. LEXIS 87994 at *36-40 (S.D. Cal. May 7, 2021); Sebright v.

  GE, 2021 U.S. Dist. LEXIS 46660 at *77-78, __ F. Supp. 3d __ (D. Mass. Mar. 11, 2021); Kelly

  v. CBS Corp., 2015 U.S. Dist. LEXIS 60788 at *3 (N.D. Cal. May 8, 2015); In re Goose Creek

  Trawlers, 972 F. Supp. 946, 950 (E.D.N.C. 1997). Indeed, the case law on which Plaintiffs rely




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    Plaintiffs’ assertion that seaworthiness claims involve only claims against employers, [ECF No.
  263 at 15], is directly contradicted by Miles as well as by the case law and treatises to which
  Plaintiffs cite. Seas Shipping Co. v. Sieracki, 328 U.S. 85, 95 (1946) (holding unseaworthiness
  claims are “not confined to seamen who perform the ship’s service under immediate hire to the
  owner…”); 1 Schoenbaum, § 6:15 at 500 (“A seaman may sue … non-employer third parties under
  the general maritime law. Such a claim may be filed against a vessel owner for
  unseaworthiness…”). Plaintiffs also describe unseaworthiness claims as “a very circumscribed
  area of law.” [Id. at 2.] The Supreme Court has described unseaworthiness claims as “the essential
  basis” on which seamen seek recovery. Batterton, 139 S. Ct. at 2282.


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  also looked to Miles in an asbestos case involving a non-employer defendant. See John Crane Inc.

  v. Hardick, 732 S.E.2d 1, 4 (Va. 2012). 6

          Plaintiffs’ assertion that the uniformity concerns of Miles do not apply outside of the

  employment context – the only argument they offer under Batterton’s second prong – is baseless.

  Because Plaintiffs’ claims for punitive damages and loss of society cannot satisfy the second prong

  of Batterton, their evidence relating to those damages should be excluded.

      C. Policy Considerations Do Not Support Recognition of Punitive Damages or Loss of
         Society in a General Maritime Law Personal Injury Case.

          Plaintiffs advance a number of “policy” arguments as to why they feel they should be

  allowed to recover the damages they seek. [See, e.g., ECF No. 263 at 20.] But under Batterton’s

  third prong, the “overriding objective is to pursue the policy expressed in congressional

  enactments.” Batterton, 139 S. Ct. at 2285 (emphasis added). Therefore, the issue under this

  prong is whether recognition of a novel maritime remedy is “compelled” by a “clearly expressed

  policy” found in federal legislation. Id. at 2283-84. Plaintiffs point to no such clearly expressed

  legislative policy. In fact, the only statutes referenced by Plaintiffs undermine any such argument

  on their part.

          Plaintiffs first cite to the Jones Act, 46 U.S.C. § 30104, which does not permit recovery for

  either loss of society or punitive damages. Miles, 498 U.S. at 32; McBride v. Estis Well Serv.,

  L.L.C., 768 F.3d 382, 391 (5th Cir. 2014) (en banc). Plaintiffs also cite to the Death on the High

  Seas Act, 46 U.S.C. § 30301 et seq. (“DOHSA”). Like the Jones Act, DOHSA prohibits recovery



  6
    The decision in Hardick (which was on reconsideration from that court’s initial decision found
  at 722 S.E.2d 610 (Va. 2012)), was a state court attempting to interpret maritime law without the
  benefit of the Supreme Court’s guidance in Batterton. Application of Batterton’s three-prong test
  likewise leads to the inexorable conclusion that pain-and-suffering damages are not available in a
  wrongful death case brought on behalf of a seaman. As this is not a wrongful death case, that issue
  is not before the Court in this case.
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   for loss of society and punitive damages to seamen like Mr. Mullinex. Id. § 30303; Miles, 498

   U.S. at 31; Bergen v. F/V St. Patrick, 816 F.2d 1345, 1349 (9th Cir. 1987). It is therefore unclear

   what Plaintiffs mean when they assert that these two statutory schemes are “hopelessly inconsistent

   with each other.” [ECF No. 263 at 25.] 7 To the contrary, these two enactments reflect a “clearly

   expressed policy” against recovery of loss of society and pecuniary damages by Plaintiffs here.

          Plaintiffs note that in 2000, DOHSA was amended to permit recovery for loss of society

   (but not punitive damages) in cases involving commercial aviation accidents. [Id.] While true,

   this in no way supports Plaintiffs’ argument. Instead, such an amendment makes clear that

   Congress knows how to provide a remedy (and which ones) when it sees fit but has not provided

   Plaintiffs with the remedies they seek. This is the whole point of Batterton’s third prong, reflecting

   Plaintiffs’ inability to identify a legislative policy ground on which to base their recovery.

          Plaintiffs cite alternatively to the “saving to suitors” clause of 28 U.S.C. § 1333, which

   they state, “expressly permits supplementation of state remedies in maritime third-party negligence

   cases.” [Id. at 24.] At the outset, Plaintiffs have expended considerable energy in this case to see

   that maritime law is applied – in response to JCI’s motion to apply Virginia law – asserting in a

   30-page brief “that general maritime law is the substantive law applicable to this case.” [ECF No.

   130 at 1] (emphasis in original). It is therefore difficult to understand Plaintiffs’ pivot now.

   Equally unclear is the benefit they hope to receive. Virginia law does not allow recovery for loss




   7
    The Supreme Court likewise had no trouble looking to both statutes in recognizing a general
   maritime law wrongful death action in Moragne and again looking to them both in Miles to find
   non-pecuniary damages unavailable.


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   of society in a personal injury case. See Carey v. Foster, 345 F.2d 772, 776 (4th Cir. 1965). 8 In

   any event, Plaintiffs’ reading of Section 1333 is incorrect. As the Fourth Circuit has explained:

                  the effect of the saving-to-suitors clause is to permit maritime in
                  personam claims to be pursued in federal court as maritime (and
                  thus non-jury) claims, in state court as legal claims, or in federal
                  court as legal claims (for which a jury trial is available) if an
                  independent basis for federal court jurisdiction exists. If an
                  admiralty claim is tried “at law,” the claim nonetheless remains an
                  admiralty claim, and substantive admiralty law governs the
                  disposition of the claim.

   In re Lockheed Martin Corp., 503 F.3d 351, 356 (4th Cir. 2007) (second emphasis added). Instead,

   the supplementation on which Plaintiffs rely – as reflected in other arguments made throughout

   Plaintiffs’ brief, [ECF No. 263 at 3-4, 6-8, 12-15, 23] – was instead the product of federal maritime

   courts accommodating state law remedies not otherwise available under maritime law.

          But this has not been the case for seamen like Mr. Mullinex since at least 1970, when the

   Court decided Moragne. As the Court explained there, “[f]ederal law, rather than state, is the more

   appropriate source of a remedy for violation of the federally imposed duties of maritime law.” Id.

   at 401 n.15. The entire motivation for recognizing a maritime wrongful death claim in that case

   was “to assure uniform vindication of federal policies, removing the tension and discrepancies that

   have resulted from the necessity to accommodate state remedial statutes to exclusively maritime

   substantive concepts.” Moragne, 398 U.S. at 401.

          Because this requirement of uniformity in application finds its origins in the Constitution

   – as explained in JCI’s opening brief, [ECF No. 215 at 8-9] – it has been held to apply not only to

   claims by seamen but to those on behalf of any person who was “engaged in a maritime trade.”

   Yamaha Motor Corp. v. Calhoun, 516 U.S. 199, 202 (1996). Therefore, only a very “narrow”


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     Perhaps it is for punitive damages, though such damages are subject to an absolute cap of
   $350,000. See Va. Code Ann. § 8.01-38.1.


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   class of cases escapes that constitutional mandate, Savoie v. Chevron Texaco, No. 04-1302, 2005

   U.S. Dist. LEXIS 17798 at *9-10 (E.D. La. Jul. 22, 2005); In re Goose Creek Trawlers, 972 F.

   Supp. at 950, such as those involving recreational boaters (like 12-year-old Natalie Calhoun) cited

   by Plaintiffs. See Tucker v. Fearn, 333 F.3d 1216 (11th Cir. 2003); Am. Dredging Co. v. Lambert,

   81 F.3d 127 (11th Cir. 1996); Sutton v. Earles, 26 F.3d 903 (9th Cir. 1994); Powers v. Bayliner

   Marine Corp., 855 F. Supp. 199 (W.D. Mich. 1994); Emery v. Rock Island Boatworks, Inc., 847

   F. Supp. 114 (C.D. Ill. 1994). As the Third Circuit observed, such cases are “at base, no different

   than a cause of action arising out of the average motor vehicle accident.” Calhoun, 40 F.3d at

   644. 9 They have no application to a seafarer like Mr. Mullinex. JCI’s review of the case law cited

   by Plaintiffs does not reveal a case decided since 1970 in which a seaman was permitted to

   supplement a maritime claim by reference to state law.

          Lastly, Plaintiffs again cite Chief Justice Chase in The Sea Gull, in which he wrote that “it

   better becomes the humane and liberal character of proceedings in admiralty to give than to

   withhold the remedy, when not required to withhold it by established and inflexible rules.” The

   Sea Gull, 21 F. Cas. at 910. But as the Supreme Court has explained in response to this very

   passage, “we are not free to expand remedies at will simply because it might work to the benefit

   of seamen and those dependent upon them.” Miles, 498 U.S. at 36. The Court reiterated this point

   in Batterton, stating that the sentiment expressed in The Sea Gull:

                  has never been a commandment that maritime law must favor
                  seamen whenever possible. Indeed, the doctrine’s apex coincided


   9
     In this same section of their brief Plaintiffs charge JCI with “attempt[ing] to stretch Miles beyond
   its holding and rationale.” [ECF No. 263 at 26.] In support of that contention, Plaintiffs cite a
   dissenting opinion from the Second Circuit, a property damage case, and two Michigan federal
   trial court decisions from the early 1990s that another court within the Fourth Circuit has described
   as “espous[ing] a minority view” because “the reasoning contained in those cases is inconsistent
   with the uniformity principle in admiralty law.” Goose Creek Trawlers, 972 F. Supp. at 951.

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                  with many of the harsh common-law limitations on recovery that
                  were not set aside until the passage of the Jones Act. And, while
                  sailors today face hardships not encountered by those who work on
                  land, neither are they as isolated nor as dependent on the master as
                  their predecessors from the age of sail. In light of these changes and
                  of the roles now played by the Judiciary and the political branches
                  in protecting sailors, the special solicitude to sailors has only a small
                  role to play in contemporary maritime law.

   Batterton, 139 S. Ct. at 2287; accord Calhoun v. Yamaha Motor Corp., U.S.A., 40 F.3d 622, 636

   (3d Cir. 1994) (citing Miles while observing, “[o]ne trend that cannot be ignored is that the Court

   seems to be cutting back on plaintiffs’ rights in maritime actions”).

           Plaintiffs cannot point to any clearly expressed legislative policy favoring – much less

   compelling as required under Batterton’s third prong – recognition of the remedies they seek under

   maritime law for loss of society and punitive damages. For the reasons articulated in JCI’s opening

   brief, the relief Plaintiffs seek is uniquely within the province of Congress, not the courts. [ECF

   No. 215 at 13.] Accordingly, Plaintiffs’ evidence relating to both categories of damages should

   be excluded.

        D. Plaintiffs Fail to Plead or Prove a Claim for Punitive Damages.

           In response to JCI’s invocation of Iqbal and Twombly, Plaintiffs offer no response to JCI’s

   argument that Plaintiffs simply attach labels like “willful and wanton” and “conscious disregard”

   to their negligence allegations, hoping to repurpose those allegations as punitive damages claims.

   Other than these formulaic buzzwords – and something about JCI’s ability to obtain liability

   insurance – Plaintiffs offer no further factual enhancement to support their punitive damages

   claim. 10 [ECF No. 263 at 24-25.] Plaintiffs do not dispute that the complaint fails to identify any

   piece of literature of which JCI was allegedly aware during Mr. Mullinex’s time in the Navy that



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     Plaintiffs’ brief includes reference in the complaint to JCI as a “miner” of asbestos. [ECF No.
   263 at 28.] JCI never mined asbestos.
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   put JCI on notice of the hazards Plaintiffs allege. Likewise, Plaintiffs do not dispute that the only

   witness they have identified on the “state of the art” issue, David Rosner, Ph.D., has admitted he

   has no information as to the state of JCI’s knowledge at any time. Because Plaintiffs did not

   sufficiently plead punitive damages under Federal Rule of Civil Procedure 8, their claim for those

   damages should be dismissed.

          Setting aside their defective pleading, Plaintiffs’ brief makes clear they cannot satisfy the

   exacting standard for punitive damages under maritime law. Other than closing their brief with a

   paragraph that reads like something out of a closing argument, Plaintiffs cite no evidence in support

   of those baseless allegations. Furthermore, the case law they cite further supports JCI’s argument.

   The only case cited by Plaintiffs is the First Circuit’s decision in CEH, Inc. v. F/V Seafarer, 70

   F.3d 694 (1st Cir. 1995). The court of appeals’ opinion there recounts a pre-existing animosity

   between the parties that led the defendant boat pilot to intentionally destroy hundreds of

   commercial lobster traps owned by the claimant and then try to cover it up. Id. at 697-98, 702.

   Such conduct is in line with that narrow band of punitive damages cases recognized under maritime

   law, [ECF No. 215 at 14-15], and reflects the sort of intentional destruction of property that was

   at issue is Ralston v. The State Rights, 20 F. Cas. 201, 205-09 (D.C.E.D. Pa. 1836). For the reasons

   detailed in JCI’s opening brief, Plaintiffs’ garden variety negligence suit comes nowhere close to

   satisfying the maritime standard for punitive damages.

                                                  III
                                               Conclusion

          For the foregoing reasons, JCI respectfully moves this Court for an Order excluding

   Plaintiffs’ evidence relating to their claims for loss of society and punitive damages, and for such

   other relief as the Court deems just and proper.



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   Dated: September 10, 2021



                                                  Respectfully submitted,
                                                  JOHN CRANE INC.,
                                                  Defendant




                                                  By:   /s/ Eric G. Reeves
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of September, 2021, a true and accurate copy of the

   foregoing was filed electronically using the CM/ECF system, which will then send a notification

   of such filing (NEF) to all counsel of record.


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